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                           United States District Court
                                   EASTERN DISTRICT OF TEXAS
                                       SHERMAN DIVISION

  REGINALD D. DAVIS                                §
                                                   §   Civil Action No. 4:17-CV-821
  v.                                               §   (Judge Schell/Judge Nowak)
                                                   §
  COMMISSIONER, SSA                                §

                  MEMORANDUM ADOPTING REPORT AND
           RECOMMENDATION OF UNITED STATES MAGISTRATE JUDGE

        Came on for consideration the report of the United States Magistrate Judge in this action,

 this matter having been heretofore referred to the Magistrate Judge pursuant to 28 U.S.C. § 636.

 On September 28, 2020, the report of the Magistrate Judge (Dkt. #25) was entered containing

 proposed findings of fact and recommendations that Plaintiff’s “Petition to Obtain Approval of a

 Fee for Representing a Social Security Claimant” under 42 U.S.C. § 406(b) (Dkt. #22) be granted.

        Having received the report of the Magistrate Judge, and no objections thereto having been

 timely filed, the Court is of the opinion that the findings and conclusions of the Magistrate Judge

 are correct and adopts the Magistrate Judge’s report as the findings and conclusions of the Court.

        It is therefore ORDERED that Plaintiff’s “Petition to Obtain Approval of a Fee for

 Representing a Social Security Claimant” under 42 U.S.C. § 406(b) (Dkt. #22) is GRANTED.

 Plaintiff’s attorney is awarded a fee in the amount of thirteen thousand eight hundred twenty-seven

 dollars and twenty-five cents ($13,827.25), to be paid from Plaintiff’s past due benefits being

 withheld by the Commissioner for attorney fees. Upon receipt of such payment, Plaintiff’s

 attorney shall refund to Plaintiff the EAJA award previously granted in this cause.

        IT IS SO ORDERED.
             .    SIGNED this the 19th day of October, 2020.




                                                           _______________________________
                                                           RICHARD A. SCHELL
                                                           UNITED STATES DISTRICT JUDGE
